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                             UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF GEORGIA
                                     ATLANTA DIVISION


 IN RE:                               :                      CASE NO. 09-61855-BEM
                                      :
 TODD ANTHONY SHAW,                   :                      CHAPTER 7
                                      :
       Debtor.                        :
 ____________________________________ :


       MOTION FOR AUTHORITY TO MAKE SECOND INTERIM DISTRIBUTION

           COMES NOW S. Gregory Hays, Chapter 7 trustee (“Trustee”) for the bankruptcy estate

 (the “Bankruptcy Estate”) of Todd Anthony Shaw (“Debtor”), by and through undersigned

 counsel, and files this Motion for Authority to Make Second Interim Distribution (“Distribution

 Motion”). In support of the Distribution Motion, Trustee shows as follows:

                                     Jurisdiction and Venue

           1.    This Bankruptcy Court has jurisdiction to hear this Distribution Motion under 28

 U.S.C. §§ 157 and 1334. This Distribution Motion presents a core proceeding within the

 meaning of 28 U.S.C. § 157(b)(2). Venue is proper before this Bankruptcy Court under 28

 U.S.C. §§ 1408 and 1409.

                                           Background

           2.    On January 26, 2009, (the “Petition Date”), Debtor and filed a voluntary petition

 under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United

 States Bankruptcy Court, Northern District of Georgia, Atlanta Division (the “Bankruptcy

 Court”), initiating Bankruptcy Case No. 09-61855-BEM (the “Bankruptcy Case”).

           3.    Trustee is the duly authorized and acting Chapter 7 Trustee for the Bankruptcy

 Estate.


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         4.     Debtor filed this Bankruptcy Case as a no-asset case. [Doc. No. 1 at Page 1].

         5.     Nevertheless, the Trustee is currently holding $543,964.22 in the Bankruptcy

 Estate’s bank account. The estate funds resulted from a November 24, 2009 stipulation between

 the Trustee and Zomba Recordings LLC (“Zomba”) [Doc. No. 62] to split the continuing music

 royalties (“Royalties”) owed to the Debtor with 20% being paid to the Bankruptcy Estate and

 80% being paid to Zomba until Zomba's secured claim was satisfied. Due to the sampling of a

 Bankruptcy Estate composition resulting in a considerable increase in Royalties, the Zomba loan

 was satisfied in early 2019.

         6.     On November 13, 2019, Trustee filed a motion to make interim distributions

 [Doc. No. 171] (the “First Motion to Make Interim Distributions”), and, on December 19,

 2019, the Court entered an order [Doc. No. 177] granting the First Motion to Make Interim

 Distributions. Thereafter, in accordance with the First Motion to Make Interim Distributions,

 Trustee made a 100% distribution to allowed, secured claimants; a 100% distribution to allowed,

 priority claimants; and a 3.0% initial distribution to timely filed, allowed, general unsecured

 claimants

         7.     Trustee intends to locate a purchaser for the bankruptcy estate’s rights in the pre-

 petition compositions and future royalty payments. In the meantime, Trustee would like to make

 another interim distribution to holders of timely filed, non-priority general unsecured creditors.

         8.     To date, Trustee has recovered over $960,000.00 from the Bankruptcy Estate’s

 share of the Royalties and has paid administrative expenses totaling $312,588.00 relating to costs

 associated with the maintenance and insurance on the Debtor’s primary residence while listed for

 sale by the Trustee, bank and technology fees, allowed professional fees and expenses, and

 federal and state income taxes on royalty income.



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         9.     The deadline for all creditors to file proofs of claim was March 9, 2010. [Doc. No.

 69].

                                           Relief Requested

         10.    Trustee requests authority from the Bankruptcy Court to pay, through an interim

 distribution, a 31.1% distribution to timely filed, allowed, general unsecured claimants. All claim

 issues have been resolved and appropriate reserves have been made for fees and expenses

 associated with the final administration of the bankruptcy case. Attached hereto and incorporated

 herein by reference as Exhibit “A” is a detailed listing of the proposed distributions to creditors

 (the “Interim Distribution Analysis”).

                                           Basis for Relief

         11.    Contemporaneously with this Distribution Motion, Trustee and the accountants

 employed in this Bankruptcy Case will file interim applications for compensation. In the interim

 application of Trustee, Trustee is requesting approval of $26,813.09 in interim compensation and

 $133.54 in reimbursement of expenses. The requested compensation of $26,813.09 represents

 the statutory allowance of compensation pursuant to 11 U.S.C. § 326 based on the distributions

 to date plus the proposed interim distributions of $467,964.22 (which includes proposed

 payments for interim fee applications of professionals—discussed below). Trustee is requesting

 authority from the Court to pay 100% of his requested interim compensation and 100% of his

 expenses for a total of $26,946.33.

         12.    In the interim application of Hays Financial Consulting, LLC (“HFC”), as

 accountants for Trustee, HFC is requesting approval of $12,240.00 in interim compensation and

 $111.00 in reimbursement of expenses. HFC is requesting authority from the Bankruptcy Court




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 for Trustee to pay 100% of its requested interim compensation and 100% of its expenses for a

 total of $12,351.00.

         13.    Timely filed, allowed general unsecured claims total $1,379,885.56, as set forth

 on Exhibit “A.” Trustee proposes to make an interim distribution of $428,666.59 (or a 31.1%

 payment) to holders of timely filed, allowed, general unsecured claims.

         14.    The remaining funds for the reserves and additional administrative expense claims

 and the remaining, allowed, general unsecured claims will be approximately $76,000.00.1

         WHEREFORE, Trustee respectfully requests that the Bankruptcy Court (i) grant this

 Distribution Motion, (ii) authorize an interim distribution in this Bankruptcy Case on approved

 claims based on the attached Interim Distribution Analysis, and (iii) grant such other and further

 relief as the Court may deem just and proper.

         Respectfully submitted this 9th day of November, 2020.

                                                     ARNALL GOLDEN GREGORY LLP
                                                     Attorneys for Trustee

                                                     By: /s/ Michael J. Bargar
 171 17th Street, NW, Suite 2100                        Michael J. Bargar
 Atlanta, Georgia 30363                                 Georgia Bar No. 645709
 (404) 873-7030                                         michael.bargar@agg.com
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        Contemporaneously with the filing of the instant Distribution Motion, Trustee will move the
 Court for authority to make 2020 Q4 tax payments to the Internal Revenue Service and the Georgia
 Department of Revenue.

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                              EXHIBIT “A” FOLLOWS




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Cash in Bank (11/2/2020)                                                                                   $543,964.22

Reserve for Estimated Tax Payment, 4th Quarter 2020 (Federal)                                               $22,000.00
Reserve for Estimated Tax Payment, 4th Quarter 2020 (Georgia)                                                $4,000.00
General Reserve                                                                                             $50,000.00
                                                                                                            $76,000.00

Funds for Distribution                                                                                     $467,964.22

Administrative Claims (Pending Fee Applications)                            Claim                      Proposed Payment
     HFC                          Fees & Exp (10/1/2019 - 9/30/2020)       $12,351.00                       $12,351.00
     Trustee                      Commission & Exp                         $26,946.63                       $26,946.63
                                                                           $39,297.63                       $39,297.63

Proposed Distribution to Creditors                                                                         $428,666.59

Secured and Priority Claims                                                 Claim        Paid to Date Proposed Payment
      Zomba Recording LLC         POC 2 - Paid in Full                    $443,857.62     $443,857.66            $0.00
      Internal Revenue Service    POC 3P Prioirty Claim                    $34,604.28      $34,604.28            $0.00
      Georgia Dept of Revenue     POC 5-2 Secured Claim                    $36,112.34      $36,112.34            $0.00
                                                                          $514,574.24     $514,574.28            $0.00
Unsecured Claims
      Fulton County Tax           POC # 1 - Withdrawn (Dkt#155)                  $0.00         $0.00             $0.00     0.0%
      Internal Revenue Service    POC # 3Ua                              $1,284,229.62    $38,526.89       $398,950.72    31.1%
      Keenan Wilkins              POC # 4&7 - Disallowed (Dkt # 164&165)         $0.00         $0.00             $0.00     0.0%
      Ronnie Jackson, Jr.         POC # 6-3                                 $95,655.94     $2,869.68        $29,715.87    31.1%
                                                                         $1,379,885.56    $41,396.57       $428,666.59

Tardily Filed Unsecured Claims §726(a)(3)
       Santander Consumer USA Inc. POC # 8                                  $8,941.03                            $0.00

Fines, Penalties Claims §726(a)(4)
       Internal Revenue Service    POC 3Ub Penalties                      $788,809.12                            $0.00

Total Interim Disributions                                                                                 $467,964.22

Funds Remaining in Bankruptcy Estate After Proposed Distributions                                           $76,000.00
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                                 CERTIFICATE OF SERVICE

        This is to certify that on November 9, 2020, the undersigned caused to be served a true
 and correct copy of the forgoing Motion for Authority to Make Second Interim Distribution by
 depositing copies of same into the United States mail on the date set forth above, with adequate
 postage affixed thereto to assure delivery by regular first class mail to the following entities at
 the addresses stated:


 Office of the U.S. Trustee                           Todd Anthony Shaw
 362 Richard B. Russell Federal Building              1010 Forest Overlook Drive
 75 Ted Turner Drive SW                               Atlanta, GA 30331
 Atlanta, GA 30303
                                                      Montie Day
 S. Gregory Hays                                      Day Law Offices
 Hays Financial Consulting, LLC                       P.O. Box 1525
 Suite 555                                            Williams, CA 95987
 2964 Peachtree Road NW
 Atlanta, GA 30305-2153




         This 9th day of November, 2020.

                                              By:/s/ Michael J. Bargar
                                                 Michael J. Bargar
                                                 Georgia Bar No. 645709




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